   Case 2:93-cr-20048-JWL        Document 526    Filed 07/07/08   Page 1 of 4




                   UNITED STATES DISTRICT COURT
                        DISTRICT OF KANSAS


United States of America,

                    Plaintiff,

             v.                                  Case No. 93-20048-002-JWL

Clarissa Williamson,

                 Defendant.
___________________________________


                       MEMORANDUM AND ORDER

      This matter comes before the court on Defendant’s motion to reduce her

sentence pursuant to 18 U.S.C. § 3582(c)(2). On October 4, 1993, a jury found

Clarissa Williamson guilty of six drug charges including conspiracy to distribute

crack cocaine. Ms. Williamson’s base offense level was 40. When combined with

her Criminal History Category III, Ms. Williamson’s sentencing range was 360

months to life in prison. Ms. Williamson was sentenced to 360 months in prison.

On January 16, 1996, Ms. Williamson filed a motion to reduce her sentence in

light of Guideline Amendment 505 which changed the base offense level for her

offense to 38. Her motion was granted on February 15, 1996 and her sentence was

modified to 292 months. Ms. Williamson now moves the court to reduce her

sentence in light of Guideline Amendments 706 and 709, and requests a

resentencing hearing under United States v. Booker, 543 U.S. 220 (2005) and
   Case 2:93-cr-20048-JWL       Document 526      Filed 07/07/08    Page 2 of 4




United States v. Hicks, 472 F.3d 1167 (9th Cir. 2007). For the reasons stated

herein, her motion is denied.

       18 U.S.C. § 3582(c)(2) provides that “a court may not modify a term of

imprisonment once it has been imposed except that in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission…the court may reduce

the term of imprisonment…if such a reduction is consistent with applicable policy

statements.” The applicable policy statement is U.S.S.G. § 1B1.10(a)(2), which

states that “a reduction in the defendant’s term of imprisonment is not consistent

with this policy statement…if none of the amendments listed in subsection (c) is

applicable to the defendant; or an amendment listed in subsection (c) does not

have the effect of lowering the defendant’s applicable guideline range.”

       Ms. Williamson is not entitled to a sentence reduction pursuant to

Amendment 709 because such relief is not afforded under § 1B1.10.            Only

amendments listed in § 1B1.10(c) can be used to reduce a defendant’s sentence.

U.S.S.G. § 1B1.10(2)(A). Amendment 709 is not listed in §1B1.10 (c) and is

therefore inconsistent with the policy statement. Moreover, Amendment 709 has

not been made retroactive by the Sentencing Commission, and thus cannot be used

to modify the sentence of a defendant sentenced before it was ratified. Ms.

Williamson’s request to reduce sentence pursuant to Amendment 709 is denied for

these reasons.




                                         2
   Case 2:93-cr-20048-JWL       Document 526       Filed 07/07/08    Page 3 of 4




       Ms. Williamson also is not entitled to a sentence reduction under

Amendment 706 because Amendment 706 does not affect her guideline range. A

reduction in the defendant’s term of imprisonment is not appropriate unless an

amendment listed in subsection (c) has the effect of lowering the defendant’s

applicable guideline range. U.S.S.G. § 1B1.10(a)(2)(B). Amendment 706 is listed

in subsection (c). However, Ms. Williamson was convicted of conspiracy to

distribute 5.75 kilograms of crack cocaine, which converts to a marijuana

equivalency of 116,150 kilograms. Under the amended crack cocaine guideline,

conspiracy to distribute 116,150 kilograms of marijuana has a total offense level

of 40, criminal history category of III, for a sentencing range of 360 months to life

in prison. Thus, Ms. Williamson’s sentencing range remains unchanged. Her

request to reduce her sentence pursuant to Amendment 706 is denied for that

reason.

       Furthermore, Ms. Williamson is not entitled to a resentencing hearing based

on the Supreme Court’s decision in United States v. Booker, 543 U.S. 220 (2005).

Although Booker made the Sentencing Guidelines advisory and not mandatory,

they are entitled to great weight. They are persuasive authority of the highest

order and reflect years of research, experience, and represent society’s collective

wisdom about how to achieve the purposes of sentencing. Moreover, although the

Ninth Circuit allows for a resentencing hearing in light of the Booker decision,

United States v. Hicks, 472 F.3d 1167, 1171 (9th Cir. 2007), a majority of courts

reject the argument that Booker applies to a §3582(c)(2) proceeding. See United


                                         3
   Case 2:93-cr-20048-JWL        Document 526      Filed 07/07/08      Page 4 of 4




States v. Wise, 2008 WL 361089 (3rd Cir. Feb. 12, 2008); Anderson v. United

States, 2007 WL 2050916 (11th Cir. July 18, 2007); United States v. Hudson, 2007

WL 2719867 (4th Cir. Sept. 19, 2007); and United States v. Swint, 2007 WL

2745767, *2, n.1 (3rd Cir. Sept 21, 2007).       The court does not believe it is

appropriate to revisit the propriety of the original sentencing decision because the

guidelines are now advisory instead of mandatory. Ms. Williamson’s request for a

resentencing hearing in light of Booker is denied for that reason. 1

       Ms. Williamson is also not entitled to a resentencing hearing under §

3582(c)(2). The Tenth Circuit has foreclosed the argument that a § 3582(c)(2)

proceeding is a full resentencing. United States v. Torres, 99 F.3d 360, 361 (10th

Cir. 1996).

       IT IS HEREBY ORDERED that Ms. Williamson’s Motion to Reduce

Sentence pursuant to §3582(c)(2) is DENIED.

       IT IS SO ORDERED.

       Dated this 7th day of July, 2008.

                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




       1
        Ms. Williamson is also not entitled to a sentence reduction in light of
United States v. Booker. The Tenth Circuit has already foreclosed that argument.
See, United States v. Price, 438 F.3d 1005, 1007 (10th Cir. 2006). That challenge
would not be based on amendments to the Sentencing Guidelines, and therefore
§3582(c)(2) is inapplicable.


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